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 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY
  Caption in Compliance with D.N.J. LBR 9004-1(b)
 McNALLY & ASSOCIATES, L.L.C.
 93 Main Street, Suite 201
 Newton, New Jersey 07860
 (973) 300-4260
 Attorneys for TTLREO, LLC



 In Re:                                                        Case No.:       18-26130

 LORI N. LEWKOWITZ,                                            Chapter:        13

                     Debtor.                                   Hearing Date:   8/18/2020

                                                               Judge:          Kaplan


                     NOTICE OF MOTION FOR LEAVE TO FILE AN UNTIMELY
                   PROOF OF CLAIM PURSUANT TO BANKRUPTCY RULE 9006(b)(1)

To:       Albert Russo
          Standing Chapter 13 Trustee
          CN 4853
          Trenton, New Jersey 08650

          Joseph Casello
          Collins, Vella & Casello
          2317 Route 34 South
          Suite 1A
          Manasquan, New Jersey 08736


          PLEASE TAKE NOTICE that on the 18th day of August, 2020 at 9:00 a.m., or as soon thereafter as

counsel may be heard, the undersigned McNally & Associates, L.L.C., counsel for TTLREO, LLC, shall move

before the Honorable Michael B. Kaplan, United States Bankruptcy Judge, at the United States Bankruptcy

Court, 402 East State Street, Trenton, New Jersey 08608 for the entry of an Order Granting Leave to File an

Untimely Proof of Claim Pursuant to F.R.B.P. Rule 9006(b)(1); and




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       PLEASE TAKE FURTHER NOTICE that the facts and law that TTLREO, LLC rely upon are set

forth in the accompanying Certification of Stephen McNally in Support of Entry of an Order Granting Leave to

File an Untimely Proof of Claim Pursuant to F.R.B.P. Rule 9006(b)(1), and do not present complicated

questions of fact or unique questions of law, so it is hereby submitted that no brief is necessary for the Court’s

consideration of the within motion; and

       PLEASE TAKE FURTHER NOTICE that oral argument is not requested.

Dated: Newton, New Jersey
       July 27, 2020
                                              McNALLY & ASSOCIATES, L.L.C.
                                              93 Main Street
                                              Newton, New Jersey 07860
                                              (973) 300-4260
                                              Attorneys for TTLREO, LLC



                                            By:    /s/ Stephen McNally
                                                   Stephen B. McNally




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